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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

         PLAINTIFF,

-vs-                                          Case No. 1:16-cr-00028-WTH-GRJ-2

JAMEL JOHNSON,

     DEFENDANT.
______________________________/
                                      ORDER
         Pursuant to N.D. Fla. Loc. R. 72.3, and by the consent of Defendant, this

matter was referred to the Magistrate Judge for the taking of a guilty plea. ECF

No. 29. This cause now comes on for consideration upon the Magistrate Judge’s

Report and Recommendation dated March 29, 2017, ECF No. 36. Pursuant to

the Report and Recommendation, to which there has been no timely objections,

and subject to this Court’s consideration of the plea agreement pursuant to

Federal Rule of Criminal Procedure 11, the Report and Recommendation of the

Magistrate Judge, ECF No. 36, is accepted and incorporated herein by

reference. The Court accepts the guilty plea of defendant, Jamel Johnson,

withholds formal adjudication at this time, and directs the clerk to set sentencing
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       by separate notice.

       IT IS SO ORDERED.

       DONE and ORDERED at Gainesville, Florida this 13th day of April, 2017.




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